






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00079-CR






Braxton Tyrone Henderson, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT


NO. 55,347, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



A jury found appellant Braxton Tyrone Henderson guilty of assaulting a household
member, subsequent offense.  See Tex. Pen. Code Ann. § 22.01(a)(1), (b)(2) (West Supp. 2004). 
The court imposed a ten-year prison sentence.

Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573
S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex.
Crim. App. 1969).

Appellant also filed a pro se brief responding to counsel's brief.  In this brief,
appellant asserts that he has learned since his trial that his earlier conviction was based on a false
arrest and that his attorney at trial should have used this fact to secure an acquittal in the instant
cause.  These assertions are not supported by the record before us.

We have reviewed the record, counsel's brief, and the pro se brief. We find nothing
in the record that might arguably support the appeal.

The judgment of conviction is affirmed.



				__________________________________________

				Bea Ann Smith, Justice

Before Justices Kidd, B. A. Smith and Pemberton

Affirmed

Filed:   September 10, 2004

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